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     IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                              PENNSYLVANIA

ALIGNED MEDICAL GROUP, P.C.,                        CIVIL DIVISION

                Plaintiff                           No.
    v.

PROGRESSIVE INS. CO.,

                 Defendant

                                    NOTICE OF REMOVAL

         NOW, comes the Defendant, Progressive Insurance Company ("Progressive"), by and

through its attorneys, Burns White LLC, and files this Notice of Removal pursuant to 28 U.S.C.

§ 1441, et seq. Progressive submits that the United States District Court for the Eastern District

of Pennsylvania has original diversity jurisdiction over this civil action and this matter may be

removed to the District Court in accordance with the procedures provided at 28 U.S.C. § 1446.

In further support of this Notice of Removal, Progressive states as follows:

         1.     Plaintiff Aligned Medical Group, P.C. ("Aligned") initiated this action by filing a

Complaint in the Court of Common Pleas of Chester County on or about March 27, 2018. A true

and correct copy of the Complaint is attached as Exhibit "A."

         2.     On April 16, 2018, Plaintiff filed an affidavit of service. Undersigned counsel is

not in possession of the affidavit of service. A true and correct copy of the state court docket is

attached hereto as Exhibit "B."

         3.     Upon information and belief, the documents which are attached as Exhibits "A"

and "B" constitute all of the pleadings, process, and orders which were filed in connection with

the state court action.
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        4.      Plaintiff Aligned Medical Group, P.C. is a Pennsylvania corporation with its

principal place of business in Paoli, Pennsylvania.

        5.      Both at the time Plaintiff initiated this action and at the time of this Removal,

Plaintiff was and is a citizen of Pennsylvania.

       6.       "Progressive Insurance Company" is not a legal or corporate entity capable of

being sued.

        7.      Progressive Advanced Insurance Company issued the automobile insurance

policy which is at issue in this matter.

        8.      Progressive Advanced Insurance Company is not incorporated in Pennsylvania,

nor does Progressive Advanced Insurance Company have its principal place of business in

Pennsylvania.

       9.       Rather, Progressive Advanced Insurance Company is an Ohio corporation with its

principal place of business in Ohio with an address of 6300 Wilson Mills Road, Mayfield

Village, Ohio 44143.

       10.      Both at the time Plaintiff initiated this action and at the time of this Removal,

Progressive Advanced Insurance Company is and was a citizen of Ohio.

       11.      Plaintiffs Complaint consists of five counts: "Breach of Contract—Violation of

Peer Review Process," Bad Faith, "Violation of 75 Pa. C.S.A. § 1797(b)," "Attorney's Fees and

Costs," and "Treble Damages." See Exhibit "A."

       12.      Plaintiff seeks payment of medical benefits under an insurance policy that

provides a total of $50,000 in medical benefits.
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       13.       Plaintiff also alleges that Progressive violated Pennsylvania's bad faith statute, 42

Pa. C.S.A. § 8371 and seeks punitive damages, interest on the medical benefits claim, and

attorney's fees.

       14.       Punitive damages are properly considered in determining the amount in

controversy for the purpose of determining whether the jurisdictional amount has been satisfied.

See Packard v. Provident Nat'1 Bank. 994 F.2d 1039, 1046 (3d Cir. 1993).

       15.       Eastern District courts have held that removal is proper where punitive damages

based upon a multiplier of up to four times the alleged compensatory damages are sufficient to

meet the amount in controversy. See Hatchigan v. State Farm Ins. Co.. 2013 WL 3479436 (E.D.

Pa. July 11, 2013); Harvey v. United States Life Ins. Co.. 2008 WL 2805608 (E.D. Pa. 2008).

       16.       Additionally, Plaintiff seeks attorney's fees and treble damages under 75 Pa.

C.S.A. § 1797.

       17.       While Plaintiff apparently seeks to avoid removal by alleging in the ad damnum

clauses that it seeks "in excess of Fifty Thousand Dollars ($50,000.00) but not in excess of

Seventy-Four Thousand, Nine Hundred and Ninety-Nine Dollars ($74,999.00)," ad damnum

clauses are not conclusive and do not limit the amount recoverable in state court. See, e.g.

Wilson v. Walker. 790 F. Supp. 2d 406, 508-09 (E.D. Pa. 2011) (citing Morgan v. Gay. 471 F.3d

469, 474-75 (3d Cir. 2006) (noting that court "must look to see if the plaintiffs actual monetary

demands in the aggregate exceed the threshold, irrespective of whether the plaintiff states that

the demands do not").

       18.       As Plaintiff alleges that it is entitled to the payment of medical benefits under a

policy that provides $50,000 in medical benefits, as well as punitive damages, treble damages,
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interest, and attorney's fees, the amount in controversy exceeds the jurisdictional requirement of

$75,000.

        19.     Because Plaintiff and Progressive are citizens of different states, and because the

amount in controversy exceeds $75,000, the United States District Court for the Eastern District

of Pennsylvania has original jurisdiction over this matter. See 28 U.S.C. § 1332.

        20.     Section 1332 confers original jurisdiction over all civil matters where the amount

in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between citizens of different states.

        21.     Progressive submits that this matter may be removed to the United States District

Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. § 1441, which permits

removal of any civil action to the district courts that have original jurisdiction.

        WHEREFORE, Defendant, Progressive Insurance Company, removes this civil action to

the United States District Court for the Eastern District of Pennsylvania, pursuant to 28 U.S.C. §

1441.

                                                       Respectfully submitted,

                                                       BURNS WHITE LLC



                                                       Daniel J. Twilla (PA I.D. 93797)
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                                                       Attorneys for Defendant
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                EXHIBIT "A"
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           SLOANE, MATTHEWS & AUSLANDER, P.C.
           Matthew J. Billcer, Esquire
           ID. No. 311284
           300 W. State Sheet, Ste, 300
           P.O. Box 319
           Media, PA 19063
           (610) 565-3700                                                ATTORNEY FOR PLAINTIFF

          ALIGNED MEDICAL GROUP, P.C                                     COURT OF COMMON PLEAS
          4 Industrial Blvd, Suite 200                                   OF CHESTER COUNTY
          Paoli, PA 19301
                                           Plaintiff
                  v.                                                     CIVIL ACTION - LAW
          PROGRESSIVE INS. CO
          P.O. Box 512926
          Los Angeles, CA 90051                                          DEMAND FOR JURY TRIAL
                                 Defendant



                                                        NOTICE

                  You have been sued in Court. If you wish to defend against the claims set forth in the
          following pages, you must take action within twenty (20) days after this Complaint and Notice an
          served, by entering a written appearance personally or by attorney and filing in writing withthe Court
          your defenses or objections to the claims set forth against you. You are waned that if you fail to do
          so the case may proceed withoutyou and a judgment may he entered against yon by the Court without
          further notice for any money claimed in the Complaint or for any other claim or relief requested by
          the Plaintiff. You may lose money or property or other rights important to you.

               YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
          NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
          OFFICE SET FORTH BELOW TO FEND OUT WHERE YOU CAN GET LEGAL HELP.

                                              Lawyers'Referral Service
                                           Delaware County Bar Association
                                               Front and Lemon Streets
                                                   Media, PA 19063
                                                   (610) 566-6627




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           P.O. Box 319
           Media, PA 19063
           (610) 565-3700                                               ATTORNEY FOR PLAINTIFF

          ALIGNED MEDICAL GROUP, P.C                                    COURT OF COMMON PLEAS
          4 Industrial Blvd, Suite 200                                  OF CHESTER COUNTY
          PaoH, PA 19301
                                           Plaintiff
                 v.                                                      CIVIL ACTION - LAW
          PROGRESSIVE INS. CO
          P.O. Box 512926
          Los Angeles, CA 90051                                         DEMAND FOR JURY TRIAL
               .                 Defendant

                                                     COMPLAINT

                   Plaintiff, Aligned Medical Group, P.C., by and through its attorney, Matthew J. Bilker,

          Esquire, of Eckell, Sparks, Levy, Auefbach, Monte, Sloane, Matthews & Auslander, P.C. does

          hereby present this civil action complaint, and in support thereof, avers as follows:

                   1.     Plaintiff, Aligned Medical Group, P,C. (hereinafter referred to as "Aligned"), is a

          corporation with its principal place of business located at 4 Industrial Blvd, Suite 200, PaoH, PA

          19301.

                   2.     The Defendant, Progressive Insurance Company (hereinafter referred to as

          "Progressive") is an insurance company Hcensed to transact business in the Commonwealth of

          Pennsylvania with offices situated, inter alia, at 780 E. Market Street, West Chester, PA 19382.

                   3.     At all times relevant hereto, Defendant, Progressive, acted and/or failed to act by

          and through its duly authorized officers, representatives, principals, employees, agents, workmen

          and/or servants.



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                                              COUNTI
                       BREACH OF CONTRACT - VIOLATION OF PEER REVIEW PROCESS

                      4.    On or about August 14,2015, Sarrah Deets, was involved in a motor vehicle

           accident in which she sustained personal injuries.

                      5.   Defendant, Progressive, had previously issued a policy of automobile insurance to

          Sarah Deets, which Policy Number 27728945 was in effect on August 14,2015. A true and

          correct copy of the Declaration Page for policy number 27728945 is attached hereto as Exhibit

          "A".

                      6.   Pursuant to the terms and conditions of the aforesaid policy, Sarah Deets was a

          named insured and/or insured. Said policy provided for $50,000.00 in first party medical

          benefits in accordance with the Pennsylvania Motor Vehicle Financial Responsibility Law, 75

          Pa.C.S.A. § 1701, etseq., as amended (hereinafter "MVFRL").

                      7.    As a result of the accident, Sarrah Deets, sustained serious personal injuries which

           were caused by the collision, including, but not limited to, head, cervical, thoracic, lumbar and

           left knee injuries.

                 8.        As a result of the aforementioned accident, Sarrah Deets, has been obligated to

          receive and undergo medical attention and care for which she has been obligated to expend

          various sums of money or to incur various expenses that would otherwise be paid as medical

          benefits.

                  9.       Following the accident, SarrahM. Deets incurred reasonable andnecessary

          medical treatment from physicians, chiropractors and/or other medical providers at Plaintiff,

          Aligned, including Sheldon Lebovite, D.O., Daniel Scott, PA-C, Nirav Patel, D.C., Sarah Cole,

          D.C., and Amanda Wright, LMT. The aforesaid treatment included therapy, trigger point



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          injections and chiropractic treatment.

                   10.      In fact, Sarrah Deets had a number of trigger point injections performed on her as

          well to help alleviate and/or otherwise manage the pain.

                  11.       As a result of the treatment following the August 14,2015 motor vehicle accident,

          Sarrah Deets, incurred reasonable and necessary medical bills in excess of $20,098.00 to be paid

          at Act 6 rates.

                  12.       At various times, Plaintiff, Aligned, has requested Defendant to pay the

          aforementioned medical bills as they have accumulated during the period commencing August

          14,2015 through the present,

                  13.       It is believed, and therefore averred, that Defendant, Progressive, regularly paid

          almost all of the aforementioned bills, including those generated as a result of the treatment

         resulting from August 14,2015 accident.

                  14.       It is believed and therefore averred, that the Sarrah Deets continued to expend

         various sums of money for an indefinite period of time after November 25,2015 for the

         necessary medical care and treatment for her injuries suffered as aresult offhe August 14,2015

         accident.

                 15.        After months of medical treatment was rendered (following the subject motor

         vehicle accident), Defendant, Progressive, decided to obtain an alleged "Peer Review," offhe

         medical treatment provided to Saixah Deets by Plaintiff, Aligned. A peer review is supposed to

         determine if the treatment is medically reasonable and necessary.1 However, a peer review



         1A "peer review" is a procedure, created by § 1797 of the MVFJRX, by which an insurance company may submit its'

         own insured's treatment to a "peer review organization." to review the reasonableness of the insured's treatment
         relative to his or her injuries, More than 81%of"peerreviews" conducted in 2015 resulted in a partial or total
         benefit termination.



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           cannot challenge causation. See, Aicher v. Brie Indemnity Co.. 83 Erie Co. L.J, 1 (1999)

           (medically necessary is not the same as causation; the legislature had the opportunity to add

           causation to §1797 but did not do so). See also, fXevine v. Travelers Prop. Cas. Ins. Co.. 9 A.3d

           671 (Pa. Super. 2013)("AnIMEis not peer review as defined in §1797 of the MVPKL. The

          purpose of peer review is to determine whether medical care and hills are reasonable and

          necessary based upon a records review. An1MB.. .is [used] to determine whether the injuries are

          causally related to the accident...[i]t is an entirely different process [than peer review] pursued

          for a different purpose,"

                  16.    On or about February 22,2016, Defendant, Progressive, allegedly wrote a letter to

          ExamWorks, a Peer Review Organization {hereinafter referred to as "PRO") to request a "Peer-

          Review" be performed, However, as will be made clear below, they ultimately provided an

          improper Peer Review.

                 17.      In that regard, Progressive apparently contracted with ExamWorlcs. On April 21,

          2016, Dr. Michael Ziev, D.O., allegedly conducted a "peer review" of the medical treatment

          provided to Sarrah Deets by Plaintiff, He reviewed records from Aligned and additional

          diagnostic studies and drafted a report, determining that the trigger point injections performed

          were not medically necessary or appropriate, nor was any treatmentnecessary and appropriate

          after November 25,2015. A true and correct copy of Dr. Ziev's peer review report is attached

          hereto as Exhibit "B,"                                 •

                 18.     It is believed, and therefore averred, that, in 2016, ExamWorlcs performed 131

          initial peer review determinations. Of those initial determinations, ExamWorlcs found treatment

          appropriate and made full payment in only 33, or 25,1% of those cases. Moreover, partial or full

          payment denial was made in 98, 74.8% of those claims submitted to it.



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                    19.    Plaintiff believes, and therefore avers, that the statistics reveal that Defendant,

           Progressive, has violated §1797(b) of the MVFRL, in that Defendant, Progressive, has an

           express and/or implied plan to intentionally cut off benefits in violation of its responsibility

           under the terms and conditions of its contract with its insured. In 2016, of the 392 claims that

           Progressive had submitted for peer review (104 of which were submitted to ExamWorlcs),

          treatment was found appropriate in 94, or 23.9% of those claims. It is absurd and unreasonable

          to believe that 76.1% of all treatment provided by Pennsylvania health care providers after

          automobile accidents is either partially or completely .unreasonable. Henceforth, it is believed,

          and therefore averred, that Defendant, Progressive, is intentionally acting contrary to the purpose

          and intent of the peer review provisions of Act 6, to improperly deny medical bills.

                   20.    Defendant's misuse of entire peer review process was an intentional attempt by

          Defendant Progressive to improperly "cut off" Sarrah Deets' medical benefits, which Ms. Deets

          had purchased and paid a significant premium in order to purchase substantially more than the

          minimum benefits required under the MVFRL, i.e. $5,000.00. Specifically, Plaintiff purchased

          $50,000.00 in PIP benefits as opposed to the $5,000.00 statutory minimum. See, 75 Pa.C.S.A.

          §1711.

                   21.    Defendant, Progressive, is contractually obligated to provide the Sarrah Deets,

          with $50,000.00 in first party medical benefits relating to the injuries she suffered as a result of

          the August 14,2015 motor vehicle accident,

                   22.    On or about April 26,2016, however, Defendant Progressive wrote to the Plaintiff

          and indicated that as a result of the Peer Review conducted by Dr. Ziev, Defendant, Progressive,

          was denying payment on all treatment following November 25,2015 and further requested

          repayment in the amount of $2,923.49 for treatment paid that Dr. Ziev found to be



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          "unreasonable." A true and correct copy of Defendant, Progressive % April 26, 2016 letter is

          attached hereto as Exhibit "C."

                  23.     Defendant, Progressive, allegedly pursuant to 75 Pa.C.S.A. § 1797(b) of the

          Pennsylvania MVFRL, as amended, contracted with a Peer Review Organization, ExamWorlcs,

          to perform a Peer Review, which statute allows for review to confirm that medical treatment,

          products, services or accommodations conform to the professional standards of performance and

          are medically necessary in light of Ms. Deets' injuries,

                  24.     It is believed and therefore averred that all said medical bills were fair and

          reasonable and that said treatment was medically necessary and, in fact, was caused by the

          August 14,2015 motor vehicle accident,

                  25.     Moreover, due to the fact that Defendant, Progressive, failed to perform a proper-

          Peer Review as required by §§1796-1798 of the MVFRL, and in accordance with the regulations

         set forth above, it is believed and therefore averred that Defendant, Progressive's, conduct

          constituted a wanton and blatant disregard of the entire Peer Review process, and, therefore,

         Defendant is subject to treble damages pursuant to § 1797(b)(4) of the MVFRL.

                 WBEREJFORE, Plaintiff demands judgment against the Defendant for a sum in excess of

         Fifty Thousand Dollars ($50,000.00) but not in excess of Seventy-four Thousand, Nine Hundred

         and Ninety Nine Dollars ($74,999.00), in the aggregate with all other counts herein, which includes

         the full amount of all outstanding medical bills due (reduced by Act 6), plus 12% interest accrued

         on said overdue benefits, plus reasonable attorney's fees, costs of suit, treble damages and specific

         performance of the first-party provisions of Plaintiff s insurance policy, inter alia, that Defendant,

         Progressive, be required to pay for all reasonable and necessary present and future medical

         treatment required for and/or prescribed to Sarrah Deets by Plaintiff, for treatment of the injuries


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           that she suffered as a result of the August 14,2015 motor vehicle accident.

                                                            COUNT II
                                                      Bad Faith, 42 P.S. S 8371

                    41.      Plaintiff incorporates herein by reference the allegations contained in paragraph

           one (1) through forty (40) as though fully set forth at length herein.

                    42.      42 P.S. § 8371, provides a private cause of action for bad faith against insurance

           companies as follows:

                             "In an action arising under an insurance policy, if the court finds that
                             the insurer has acted in bad faith toward the insured, the court may                    .
                             take all of the following actions:

                            (1) Award interest on the amount of the claim from the date the claim
                            was made by the insured in an amount equal to the prime rate of
                            interest plus 3%;

                             (2) Award punitive damages against the insurer;

                            (3) Assess court costs and attorney fees against the insurer."

                   43.       Plaintiff is entitled to raise simultaneous claims for bad faith, arising under both, 42

          P.S. §8371, as well as claims under § 1797 oftheMVFRL, within a single civil action, See, e.g.,

          Yeltriv. Travelers Commercial Ins. Co.. C.P. Lackawanna, Sept. 2009. See also, Hiclcevv.

          Allstate. 2010WL 2606646 (M.D. Pa. June 25,2010),2

                   44.      hi the insurance context, "bad faith" is defined as "any frivolous or unfounded

          refusal to pay proceeds of a policy; it is not necessary that such refusal be fraudulent, For

          purposes of an action against an insurer for failure to pay a claim, such conduct imports a

          dishonest purpose and means a breach of a known duty (he, good faith and fair dealing), through


          2 Bad faith claims are not preempted by §1797 when, in addition to a claim that the medical treatment was

          reasonable and necessary, the insured also alleges an abuse of the peer review process, Hicfcev v. Allstate Prop 8c
          Cas. Ins. Co.. 722 F.Supp, 2d 609 (M.D, Pa. 2010).



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           some motive of self-interest or ill will; mere negligence or bad judgment is not bad faith."

           Terletsky v. Prudential Property and Cas. Ins. Co.. 649 A.2d 680, 688 (Pa. Super. 1994)

                   45.     To illustrate bad faith, an insured most prove that (1) the insurer did not have a .

           reasonable basis for denying benefits under the policy; and (2) that the insurer knew of or

           recldessly disregarded its laclc of reasonable basis in denying the claim. Id

                   46.     Defendant, Progressive, acted in bad faith in denying the first party benefits it was

          contractually obligated to provide to Saxrah Deets.

                   47.      §1797(b)(l) of the MVFRL, as amended, provides that insurers shall contact with a

          peer review organization only for the purpose of evaluatingtreatment, health care services, products

          or accommodations provided to anyinjured person. The evaluation is limited to confirming that

          such, treatment, products, services or accommodations conform to the professional standards of

          performance and aremedically necessary.

                  48.     Defendant, Progressive, is on statutory notice of the above Ihxiitations on the

          authority of PRO'S.

                  49.     In the instant case, Defendant has intentionally and/or recldessly failed and

          refused to pay benefits towards Sarrali Deets, outstanding medical charges based npon the

          alleged basis that, certain treatment was not medically necessary or appropriate.

                  50.     It is further believed and therefore averred that the Defendant had no reasonable

          basis to believe that Ms. Deets' treatments were not medically necessary, but, instead was

          intentionally trying to simply "cut off" medical coverage for which Ms. Deets' paid a significant

          premium, It is believed and therefore averred that Defendant had and has a practice of attempting to

          "cut off' medical treatment without reasonable cause to do so. Alternatively, Defendant

          intentionally did so in this case,



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                   51.     It is further believed and therefore averred that the Defendant, Progressive, has, or

           may have, employed ExamWorlcs in bad faith in that said Peer Review Organization does a

           substantial amount of Peer Reviewwork for Defendant and, therefore, has a financial interest in

          providing to Defendant a biased Peer Review report.
                                                       t

                          a.      In 2016, ExamWorks performed 131 initial peer review determinations.

                          Of those initial determinations, ExamWorks found treatment appropriate and

                          made frill payment in only 33, or 25.1%, of those cases.

                          b.      Moreover, in 2016, of the astounding 392 claims that Progressive had

                          submitted for peer review (over 100 of which were submitted to ExamWorlcs),

                          treatment was found appropriate in only 94, or 23.9% of those claims,

                  52.     Defendant, Progressive, has undertaken a course of action which has been designed

          to unilaterally, and without justification, refuse claims for medical benefits and cause Ms. Deets to

          become personally responsible for medical bills arising out of the maintenance and use of a motor

          vehicle, in contradiction to the terms of her insurance contract.

                  53.     Defendant, Progressive, has intentionally and/or recklessly abused its ability to

          conduct a Peer Review of its insured, as the Defendant and/or Defendant's agents, intentionally

          ignored uncontroverted evidence that Sarah Deets had sustained multiple injuries as a result of

          the August 14,2015 accident.

                 54.      Defendant, Progressive, wrongfully denied benefits to Plaintiff, Aligned, based

          upon the results of a Peer Review, which was conducted in bad faith, and which Peer Review

          process was violated by not following the statutory guidelines set forth in the PRMVL.

                 55.     Defendant, Progressive, committed other acts of bad faith in violation of § 8371

          including, but not limited to, Defendant's frivolous or unfounded refusal to pay Plaintiff for



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           medical treatment provided to Ms. Deets, conduct that imports a dishonest purpose, and/or

           conduct motivated by self-interest or ill will.

                  WHEREFORE, Plaintiff demands judgment against the Defendant for a sum in excess of

          Fifty Thousand Dollar's ($50,000.00) but not in excess of Seventy-Four Thousand, Nine Hundred

          and Ninety-Nine Dollars ($74,999.00), in the aggregate with all other counts herein, representing

          interest, punitive damages, court costs and attorney's fees.

                                                      COUNT in
                                          Violation of 75 Pa.C.S.A. § 1797(b)

                  56.     Plaintiff incorporates herein by reference the allegations contained in paragraphs

          one (1) through fifty-five (55) as though fully set forth at length herein.

                  57.     75 Pa.C.S.A. §1797(b), provides an insured with a private cause of action for an

          insurer's denial of benefits based upon a determination of whether or not the treatment at issue is

          reasonable and/or necessary.

                 58.     Plaintiff believes and therefore avers that the Defendant had no reason whatsoever

          to believe that Sarah Deets' treatments were not medically necessary, but, instead was

         intentionally trying to simply "cut off' medical coverage for which Ms. Deets had paid a

          significant premium. It is believed and therefore averred that Defendant had and has a practice

          of attempting to "cut off' medical treatment by Peer Review without reasonable cause to do so.

         Alternatively, Defendant intentionally did so in this case,

                 59.     It is believed, and therefore averted, that ExamWorks has continuously been

         providing negative Peer Review reports to Defendant and other insurance companies which serve

         said insurance companies as a basis for denying benefits, for the purpose of maintaining a steady

         source of business, thereby showing a pattern of abuse of the Peer Review process.




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                   60.     Moreover, Defendant, Progressive, intentionally and/or recklessly abused the Peer-

          Review process, as the Defendant intentionally and blatantly disregarded the regulations which

           govern the Peer Review process as set forth by the Insurance Commissioner at 31 Pa. Code § 69.52.

                  WHEREFORE, Plaintiff demands judgment against the Defendant for a sum in excess of

          Fifty Thousand Dollar's ($50,000.00) but not in excess of Seventy-Four- Thousand, Nine Hundred

          and Ninety-Nine Dollar's ($74,999.00), in the aggregate with all other counts herein, representing

          payment of the full amount of all outstanding medical bills due (reduced by Act 6), plus 12%

          interest accrued on said overdue benefits, plus reasonable attorney's fees, costs of suit, and specific

          performance of the first-party provisions of Plaintiff's insurance policy, inter alia, that Defendant,

          Progressive, be required to pay for all reasonable and necessary present and future medical

          treatment required for and/or prescribed to Sarah Deets from Plaintiff for treatment of the injuries

          that she suffered as a result of the August 14,2015, motor vehicle accident.

                                                      COUNTIV
                                               Attorney's Fees and Costs

                  61.    Plaintiff incorporates herein by reference the allegations contained in paragraphs

          one (1) through sixty (60) as though fully set forth at length herein.

                 62.     75 Pa.C.S.A. §1716, provides as follows:                                           .

                                 "In the event the insurer is found to have acted in an unreasonable manner in
                                 refusing to pay the benefits when due, the insurer shall pay, in addition to the
                                 benefits owed and the interest thereon, a reasonable attorney fee based noon
                                 actual time expended," (emphasis added).

                 63.     Plaintiff believes and therefore avers, that Defendant, Progressive, acted in an

          unreasonable manner with respect to its denial of first-party medical benefits to the Ms. Deets,

          and, as a result, the Defendant must pay to Plaintiff a reasonable attorney's fee pursuant to 75

         Pa.C.S.A. §1716.



                                     [621772/1]                          2018-03^7-CT



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                   64.        Moreover, 75 Pa.C.S A. §1797(b), provides that upon a court determination that

           the medical treatment and services rendered to an insured were reasonable and/or necessary: "the

           insurer must -pay to the provider the outstanding amount plus interest at 12%, as well as the costs

           of the challenge and all attorney fees." (emphasis added).

                   65.       Plaintiff believes and therefore avers, that all of the medical treatment rendered to

           Ms. Deets was medically necessary and/or reasonable, and, as a result, the Defendant must pay

          to Plaintiff the costs of this challenge and all attorney's fees incurred therefrom, pursuant to 75

          Pa.C.S.A. §1797(b).

                  66.        Furthermore, 75 Pa.C.SA. §1798(b), provides as follows:

                         •           "hi the event an insurer is found to have acted with no reasonable foundation
                                     in refusing to pay the benefits enumerated in subsection (a) when due, the
                                     insurer shall pav. in addition to the benefits owed and the interest thereon, a
                                     reasonable attorney fee based upon actual time expended." (emphasis
                                     added).
                                                                                             "*/
                  67.        Plaintiff believes and therefore avers, that Defendant, Progressive, lacked a

          reasonable foundation to refuse to pay medical benefits to Plaintiff for treatment provided to Ms.

          Deets to which she was clearly entitled under Policy Number 27728945 and for which she has paid

          significant premiums.

                  68.        Therefore, pursuant to 75 Pa.C.SA. §1798(b), Defendant, Progressive, must pay a

          reasonable attorney's fee to Plaintiff.

                  WHEREFORE, Plaintiff demands judgment against tire Defendant for a sum in excess of

          Fifty Thousand Dollar's ($50,000.00) but not in excess of Seventy-Four Thousand, Nine Hundred

          and Ninety-Nine Dollars ($74,999.00), in the aggregate with all other counts herein, representing

          payment of the full amount of all outstanding medical bills due (reduced by Act 6), plus 12%

          interest accrued on said overdue benefit's, plus reasonable attorney's fees, costs of suit, and specific



                                        [621772/1]                          20 IS-03^7-CT




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           performance of the first-party provisions of Plaintiffs insurance policy, inter alia, that Defendant,

          Progressive, be required to pay for all reasonable and necessary present and future medical

          treatment required for and/or prescribed to Sarrah Deets from Plaintiff for treatment of the injuries

          that she suffered as a result of the August 14,2015, motor vehicle accident

                                                       COUNTY
                                                     Treble Damages

                  69.      Plaintiff incorporates herein by reference the allegations contained in paragraphs

          one (1) through sixty-eight (68) as though fully set forth at length herein.

             '    70.      Where an insurer's conduct in improperly utilizing the peer review process is

          considered "wanton," the insurer shall be subject to pay treble damages to the injured

          parly/insured.

                  71.      Due to the fact that Defendant, Progressive, failed to perform a proper Peer

          Review as required by §§1796-1798 of the MVFRL, and in accordance with the regulations set

          forth above, it is believed and therefore averred that Defendant,Progressive's, conduct constituted a

          wanton and blatant disregard of the entire Peer Review process, and, therefore, Defendant is subject

          to treble damages pursuant to § 1797(b)(4) of the MVFRL,

                 WHEREFORE, Plaintiff demands judgment against the Defendant for a sum in excess of

         Pifiy Thousand Dollars ($50,000.00) but not in excess of Seventy-Four Thousand, Nine Hundred

          and Ninety-Nine Dollars ($74,999,00),'in the aggregate with all other counts herein, treble damages

         for the violation of §§1796-1798.

                                                  ECKELL, SPARKS, LEVY, AUERBACH, MONTE,
                                                  SLOANE, MATTHEWS & AUSLANDER, P.C.



                                                         Attorney for Plaintiff


                                     [621772/1]



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                                EXHIBIT A




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         V


       PROGRESSiVE
       P.O. BOX 31260                                                                                                 PffOGMSSm
       TAMPA, PL 3363!                                                                                                     meorAufo

                                                                                                                Policy Number; 27728945
                                                                                                                    Underwritten by;
                                                                                                                    Progressive Advanced Insurance Co
                                                                                                                    February 24,2017
       SARRAH DEETS
       733 SURREY RD                                                                                                Policy Period; Mar 30,2017 - Sep 30,2017
       ALDAN, PA 19018                                                                                              Page 1 of 3
                                                                                                                progressive.com
                                                                                                                   Online Service
                                                                                                                   Make payments, check billing activity, update
                                                                                                                   policy information or check status of a daim,
                     Auto Insurance                                                                             1-800-776-4737
                                                                                                                    For customer service and claims service,
                     Coverage Summary                                                                               24 hours a day, 7 days a week.

                     This is your Renewal
                     Declarations Page
                     The coverages, limits and policy period shown apply only if you pay for this policy to renew.
                     Your coverage begins on March 30,2017 at 12:01 a.m. This policy expires on September 30,2017 at 12:01 a.m.
                     Your insurance policy and any policy endorsements contain a full explanation of your coverage, The policy contract is
                     form 9611D PA (02/16), The contract is modified by forms Z357 (01/07) and 4884 (10/08),

      COLLISION COVERAGE FOR RENTAL VEHICLES
                     IF THIS POLICY PROVIDES COLLISION COVERAGE, IT WILL APPLY TO VEHICLES YOU RENT, BUT NOT TO
                     VEHICLES RENTED FOR 6 MONTHS OR MORE.
      FRAUD NOTICE
                     Any person who knowingly and with intent to defraud any Insurance company or other person files an application for
                     insurance or statement of claim containing any materially false information or conceals for the purpose of misleading,
                     Information concerning any fact material thereto commits a fraudulent insurance act, which is a crime and subjects such
                     person to criminal and civil penalties.
      Underwriting Company
                     Progressive Advanced Insurance Co
                     P.O. Box 31260
                     Tampa, FL 33631
                     1-800-776-4737
      Drivers and resident relatives                                        Additional information
                     Sarrah Deets                                           First Named insured




                     Form 6189 PA (02/15)
                                                                                                     2018-03297-CT



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                                                                                                                                     Policy Number: 27728945
                                                                                                                                                  Sarah Deeis
                                                                                                                                                  Page2 of 3
       Outline of coverage
                     2015 NfSSAN SENTRA 4 POOR SEDAN
                     VINt 3N1AB7AP6FY26036
                     Garaging ZIP Code: 19018
                     Primary use of the vehicle: Commute
                     This vehicle is currently enrolled in the SnapshotSM Program,

                          ity to Others
                       Bodily Injury Liability                             $100,000 each person/$300,000 each acadent
                       Property Damage Liability                           $50,000 each accident
                     Hmt&HyBeK                                                                                                                               69
                      Medical Expenses                                      $50,000 each person
                      Funeral Benefit                                     ''$2,500e3ch'penson                                                                5
                      Accidental' Death                                                                                                                      5
                     Uninsured Motorist - Nonstacke'd                      $15,000 each personi$30,66b each accident                                         16
                     Underinsured Motorist - Nonstacked '                  $15,000 each person/$30,000 each accident                                  """22

                                                                           ArttlalCash VaVile                                      $500                   22
                                                                                                                                  "$500"                 194
                    Rentai'Reimbursemen                                    up to'lib'each day/maximum 30 days                                             '14
                    RoadsideAssisiance                                                                                                                      5
                    Total 6 month policy pre         um                                                                                          "$631.00

      Premium discounts
                 Policy
                    27728945                                               Five-Year Accident Free, Five-Year Claim Free, Electronic Funds Transfer (EFT),
                                                                           Home Owner, Online Quote, Continuous insurance: Diamond, Paperless and
                                                                           Three-Year Safe Driving

                    2015 NISSAN                                            Driver and Passenger-side Airbag, Anti-Theft Device and Snapshot Driving
                    SENTRA
      Lienhoider information
                  Vehicle                                            Lienhoider
                    2015 NISSAN SENTRA                              'NIHNMOTORACCPT'
                    3N1AB7AP6FY26036                                 DALLAS, TX 75266



      Tort Option
                    This policy provides full tort insurance.

      Notice of Available Premium Discounts
                    You may be eligible for discounts mandated by Act 6 of 1990;
             •      on first party benefits coverage if your car is equipped with a passive restraint system
             •      on comprehensive coverage if your car is equipped with a passive anti-theft device
             •      if all named insureds are 55 or older and have successfully completed a motor vehicle driver improvement course
                    approved by PennDOT,
                    If you have any questions about your eligibility,.please call Customer Service.


                    form 6489 PA (02/15)
                                                                                              2018-03297-CT
                                                                                                                                                     Conttad




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                                                                          Policy Kumben 27728945
                                                                                       Sarah Deals
                                                                                       Page3 of 3

       Company officers




               President                    Secretary




                 form 6*189 PA (02/15)
                                                        2018 - 03297-CT



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                                 EXHIBIT B




                                                    2018-03297-



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                                                        Michael ZievD.O.
                                                       1800 Fox Chase Road
                                                      Philadelphia, PA 19152



               April 21. 2016

               ExamWorks
               150 Presidential Way, Su 120
               Wobum, MA 01801
               781.326.6288
               781.396.55P2 fax

               RE:              SarrahDeets
               EW file ff       5451717
               Claim#           155438687
               DOA:             8/14/2015
               DOB:             1/17/1983
               Prorider:        Sheldon Lebovitz, D.O., Daniel Scott, PA C, Nirav Patel, D.C., Sarali Cole, D.C,,
                                Amanda Wright, LMT

              Dear Sir:

                     I have been asked to perform an Act 6 peer review on Sarrali Deets who was reportedly injured
              in an accident on 8/14/15. Specifically. 1 have been asked to comment upon the treatment rendered by
              Sheldon Lebovitz, D.O., Daniel Scott, PA-C, Nirav Patel, D.C.. Sarah Cole. D.C.. Amanda Wright, LMT.
              Specifically, I have been asked about the diagnosis, andtieatrnent rendered with respectto reasonableness,
              medical necessity, and appropriateness.

              Medical Records Reviewed

                  1- Request for review
                  2- Progress notes - Aligned Medical Group, P.C. - 8/25/15 ~ 11/16/15 - 22 visits with trigger point
                      injections - ail performed by physician assistants not countersigned by a physician.
                  3- 1/8/16 - Office visit - signed by Sheldon Lebovitz, D.O.
                  4- Progress notes - 1/25/16 - 3/4/16 — 11 office visits with trigger point injections ail signed by
                      physician assistants with no countersignature
                  5- Progress note - Michelle T. Bailentyne-Hyatt, MD — 2/22/16
                  6- Diagnostic ROM testing - 2/22/16
                  7- Invoices for services - Medical and injections -.Aligned Medical Group
                  8- Chiropractic notes -8/17/15 -3/4/16- Nirav Patel. D.C. and Sarah Cole, D.C.
                  9~ Chiropractic invoices - Aligned Medical Group
                  10-Massage therapy notes -Anessa Graham, LMT-11/2/15-3/1/16-16 massage sessions
                  11- Progress notes - Michelle Baienlyne-Hyaft, MD — 1/L9/16 - visit with trigger point injections
                  12- 9/15/15 - MR! cervioal spine and lumbar spine
                  13- EMO/MCV -10/27/15 -neck
                  14- Another EMG/NCV-11/16/15 - lumbar spine




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                RE;            Sarrali Deets
                EW file U      5451717
                Claim #        155438687
               DOA:            8/14/2015
               BOB;            mums
               Provider:       Sheldon Lebovitz, D.O., Daniel Scoff', PA-C, Nirav Patel, D.C.> Sarah Cole, B.C.,
                               Amanda "Wright, EMT

                   15- Patient First Records - 8/29/15
                   15- Emergency room records - Delaware County Medical Center - 8/29/2015
                   17- Application for Benefits foiin - 9/14/2015

               History

               According to the submitted medical documentation the patient was injured in an accident on 8/14/2015
               when she was the restrained driver of a car who swerved into the left passing lane to avoid another car
               that had cut Iter off from the right lane. The patient swerved to the left and then right and finally impacted
               n telephone pole. There was no pain initially but the patient stated that the pain began about 2 hours later.
               The patient did not seek treatment at the urgent care center until 8/29/15 and (lie patient was seen in the
               emergency room on 8/29/15 which wasmorethan two weeks after the accident, lite patient was x-rayed
               and evaluated at the emergency room and a diagnosis of post-traumatic myalgia (muscle aches) was
               documented.

               The first documented visit to Aligned MedicaL Group was on 8/25/15 which was four days before the
               emergency room visit The patient was complaining of tightness on the leftside of her neck radiating into
               the skull causing headaches. She also was complaining of mid'and low hack pain radiating into her left
               thigh when seated. She complained of left jknee pain above the taee cap. At this point trigger point
               injections were started consisting of Sarnpin and iidocaiue with a total of 8 injections planned from tho
               get-go, The patient was to start exercises and chiropractic treatments The initial diagnoses were
               documented as ceivicalgia, headache, thoricnlgia, lumbalgia, cervical strain and sprain, spasm of the
               muscles and myalgia and myositis. All of these were signed and ordered by Megan Haines, PA-C, a
               physician assistant Treatments and injections continued to be performed and ordered by physician
               assistants without physician countersignature nntiJ 1/8/2016 when the first documented visit by a
               physician, Sheldon Lebovitz, D.O, was documented. The therapy and injection visits were delivered for a
               total of 22 times until the physician saw the patient for the first and only time. Mother 11 therapy and
               injection visits followed again delivered by a physician assistant without physician countersignature or
               any indication that a physician had seen the patient until 3/4/16. the last documented therapy visit. The
               only exception to this was a visit to Michelle Ballentyjie-Hyatt, MD on 2/22/16 for testing.

              Tire patient was also seen from 8/17/15 - 3/4/16bv Nirav Patel, B.C. and Sarah Cole, B.C. who delivered
              chiropractic treatment and therapy. In addition, the patient was seen bj' a massage therapist from 11/2/15
              - 3/1/16 and received 16 massage sessions.

               Contact with provider under review

              It is noted that the providers under review did request a phone call to discuss the case. I discussed the case
              in a conference call with all of the requested providers including Daniel Scott, PA-C, Nirav Patel, D.C
              and Sarah Cole, B.C.. and Amanda Wright J.MT OH 4/5/2016 at 12:10 P.M. T was also told that Sheldon
              Lebovitz, D.O. was no longer with the practice,




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                RE:             San-ali Deefs
                £W file #       5451717
                Claim#          155438687
                BOA:            8/14/2015
                DOB:            1/17/1985
                Provider;       Sheldon Lebovitz, D.O., Daniel Scott, PA-C, Nirav Patel, D.C., Sarah Cole, D.C.,
                                Amanda Wright, DMT

                Discussion

                There is really no documentation of severe injur}' in this case. If this patient had been severely injured one
                might expect consultation with orthopedics to have been ordered and performed. All of the patient's
                complaints are subjective with very little in the way of objective findings in this case. There was no
                documentation in the notes about improvement, The pain at the end of treatment was essentially the same as
                at the first visit Hie documented diagnoses seem to be of myalgia (muscle pain), low back pain, headaches,
                and neck pain, The diagnostic studies including the MRI'examinations and the EMG/NCY studies were
                essentially normal with no signs of significant injuries.

                It is my considered medical opinion that standard practice guideline should be sufficient in tin's case. The
                normal length of formal therapy for a patient with these types of injuries is from 4-12 weeks of passive therapy
                modalities followed by one month of muscle strengthening and exercise. In this case I believe that 8-weeks of
                passive therapy followed by one month of muscle strengthening and exercise should have been sufficient.
                This means that by 10/25/15 the patient should have completed the 8 weeks of passive therapy modalities and
                by 11/25/15 should have completed the one month of muscle strengthening and exercises. This is the date at
                which time tho treatment became medically unnecessary in my opinion. All thorapy including chiropraotio
                care and massage therapy, visits, and medication afterthat date would not be considered medically necessary
                or appropriate again in my opinion in this case. Again, if tills patient had been severely injured orthopedic
                consultation would have been ordered and performed. In addition, the diagnostic studies do not support the
                medical necessity for additional treatment beyond 11/25/15.

                Specifically addressing thetrigger point injections, it would appear that the mainstay of treatment for this
                patient whose main complaints are muscular in nature, appears to be trigger point injections. Tliere really
                was no documentation of any medication being utilized or at least none documented. In addition, the
                trigger point injections were performed by physician assistants not under the oversight or at least no1
                countersigned by a physician, hi any event, trigger point injections and certainly not with the frequency
                utilized, is not the standard of care in tin's or any medical community, The Sarapin portion of the injection
                is also not realty accepted as the standard of care.

               Tliere is a lack of firm evidence forthe use of trigger point injections. A randomized study of trigger point
               injection in patients with low back pain found thai outcomes were equivalent for patients who were
               injected with local anesthetic or with saline, or who were needled without injection, or sprayed with a
               vapo-coolant, suggesting that any type of counter stimulation had some effect. Sarapin has been reported
               as an agent to provide pain relief without motor weakness with an excellent risk/ benefit ratio in neural
               blockade. Sarapin is a suspension of powdered Sarraoenia purpwin (pitcher plant) in alkaline solution.
               Researchers theorize that the distillate contained an unidentified biological substance that potentiates the
               action of the ammonium ion, Modest but significant benefits were demonstrated with diagnostic blocks,
               with diagnostic lumbal1 medial branch blocks, therapeutic lumbar medial branch blocks, and caudal
               epidural injections, In an experimental study in the horse, no benefits were seen by injection of Sarapin.
               The authors proposed that there may not bo any benefits in other species as well. Multiple thcrapcutio




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                 RE:            Sim'fllt Deefs
                 EW file #      5451717
                 Claim#         155438687
                 DOA:           8/14/2015
                 BOB;           1/17/1985
                 Provider:      Sheldon LeboMtz, D.O., Daniel Scott, PA-C, Nirav Patel, D.C,, Saiah Cole, D.C.,
                                Ainandn Wright, DMT

                 agents utilized in neural blockade, including local anesthetics, steroids, and neurolytic agents, have been
                 evaluated extensively. Sarapinbas not been evaluated In controlled trials.

                 Hie trigger poinr injections, in my medical opinion, are not medically necessary or appropriate in this
                 case.                                                                                                   .

                 Hie treatment is medically necessary and appropriate until 11/25/2015, Maximum benefit of treatment was
                 readied on 11/25/2015.

                 The diagnoses were correct but notsupported by objective findings. Hie complaints were primarily subjective.

                 References

                    1. The prognosis of acute low back pain in primary care in the United States: a 2-year prospective
                       cohort stndj'. MeMing WE, Gopisetty V, Baitmess E, AereeM, Pressman A. Goldberg H, Hecht
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                    5. Veterans Health Administration, Department of Defense. Clinical practice guideline for the
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                        American Coilege of Radiology. ACR Appropriateness Criteria. Rndiologv 2000 Jun;215(Suppl):479-
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                RE:         Sarrah Deets
                EW file #   5451717
                Claim#      155438687
                DOA:        8/34/2015
                DOB:        1/37/1985
                Provider;   Sheldon Lebovif?;, P.O., Daniel Scoff, PA-C, Nirav Pafcl, D.C., Sarali Cole, D.G,
                            Amanda Wright, LMT




                                                     Very truly yours,
                                                              C 7-^,      .

                                  Michael Ziev D.O. F AOBFP, FABQAURP




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                                EXHIBIT C




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                   PROGRESSIVE CLAIMS
                   P0B0X 512926
                   LOS ANGELES, CA SODS I
                                                                                                                               pmmmim

                                                                                                                         Underwritten By;
                                                                                                                         Progressive Advanced Insurance
                                                                                                                         Company
                                                                                                                             Claim Number; 1S-5438687
                   ALIGNED MEDICAL GROUP                                                                                     Loss Date;      August 14,2015
                   4 Musttfal Bivd                                                                                           Detriment Date: April 26,2016
                   Suite 200                                                                                                 Page i of 2
                   Pool], PA 19301-160S


                                                                                                                         claims,progressive,com
                                                                                                                             Track the status and details ol your claim,
                                                                                                                             e-mail your representative or report a
                                                                                                                             new data.

                                      Claim           rsformatlosi

                                     RE: Sarrah Deets

                                     Medical Claim Information

                                     Dear Provider

                                     As you are aware, a Peer Review has been performed regarding treatment rendered to the above mentioned patient.
                                     Endosed, please find a copy of the peer review report,

                                     Based upon the Peer Review Organization (PRO) findings, and in accordance with Pennsylvania ACT VI, section 1797b (7)
                                     we cannot afford any payment to you for unpaid and/orfuturc billings as indicated below, as a result of this accident.
                                     According to the findings in the peer review;

                                     -All treatment, Including dilropracticcare, massage, office visits, medication, and Injections was deemed not reasonable or
                                     necessary as of 11 /26/2015. MMI wasfound to be 11/25/2015, We have paid/will pay all medical bills through
                                     11/25/201S.
                                     Additionally, we are requesting reimbursement in the amount of $2923.49 for treatment that has already been paid, but
                                     was found to be medically unreasonable or unnecessary by the PRO, If reimbursement is received within 30 days, we will
                                     forego Ore 12%annual interest fee mandated by the Pennsylvania MVFRl section1797b(7).

                                     Pursuant to Pennsylvania Financial Responsibility Law, Section 1797b{2), "An insurer, provider or insured may requesta
                                     reconsideration by the PRO of the PROV initial determination, Such a request for reconsideration must be made wilbin 30
                                     days of the PRO'S initial determination, If reconsideration is requested for the services of a physician or other licensed
                                     health care professional, then the reviewing individual must be, or the reviewing panel must include, an individual in the
                                     same specially as the individual subject to review."                                                                       ..

                                     If you have any questions, please contact me.




                                                                                                              2018-03297-CT



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    «   n   A




                                                        VERIFICATION


                        I, Kelley Perkins, do hereby state that I am the authorized representative of Aligned

                Medical Group, P.C., and do hereby verily that the averments and statements in the attached

                document are true and correct to the best of my knowledge, information and belief and that this

                statement is made subject to the penalties of IS Pa.C.S, Section 4904, relating to unsworn

                falsification to authorities.




                                                                             2018-03297-CT



Received Date: 04/02/2018
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                 EXHIBIT "B"
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   Prothonotary > Case #2018-03297-CT > ALIGNED MEDICAL GROUP, P.C. VS. PROGRESSIVE INSURANCE COMPANY


            Search Again          Case Details


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   Case#: 2018-03297-CT                                               Initial Date: 3/27/2018
   Case Type: OTHER CONTRACT                                          Status: PENDING


                                                                      Status Date:   3/27/2018

   Judge: WHEATCRAFT, ANN MARIE


                           COMMENCEMENT OF ACTION FEE

                           :: :: On behalf of Plaintiff: ALIGNED MEDICAL GROUP, P.C. :: Filed By:
                           MATTHEW JORDAN BILKER Receipt: 784553 Date: 03/27/2018

                           COMPLAINT FILED

                           :: :: On behalf of Plaintiff: ALIGNED MEDICAL GROUP, P.C. :: Filed By:
                           MATTHEW JORDAN BILKER

   3/27/2018               COVER SHEET(S) FILED

                           :: :: On behalf of Plaintiff: ALIGNED MEDICAL GROUP, P.C. :: Filed By:
                           MATTHEW JORDAN BILKER

    3/27/2018              NOTICE TO PLEAD :: :: On behalf of Plaintiff: ALIGNED MEDICAL GROUP,
                           P.C. :: Filed By: MATTHEW JORDAN BILKER

   3/27/2018               EFILING FEE Receipt: 784553 Date: 03/27/2018

   3/27/20.1.8             0002 - ATTORNEY STATUS

                           Attorney BILKER, MATTHEW JORDAN representing Plaintiff ALIGNED
                           MEDICAL GROUP, P.C. as of 03/27/2018

                           AFFIDAVIT OF SERVICE OF WRIT OF SUMMONS VIA MAIL ON 4-5-18 UPON
                           SEE AFFIDAVIT OF SERVICE :: :: On behalf of Plaintiff: ALIGNED MEDICAL
                           GROUP, P.C. :: Filed By: MATTHEW JORDAN BILKER

   4/17/2018               NOTIFICATION OF ELECTRONIC FILING
      Case 2:18-cv-01780-JCJ Document 1 Filed 04/27/18 Page 35 of 35




                              CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on April 26, 2018 the within NOTICE OF

REMOVAL was served via Federal Express, postage prepaid, upon the following:


                                    Matthew J. Bilker, Esq.
          Eckell, Sparks, Levy, Auerbach, Monte, Sloane, Matthews & Auslander, P.C.
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                                        P.O. Box 319
                                       Media, PA 19063




                                             Daniel J. Twilla
